                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION

UNITED STATES OF AMERICA            )                 Docket No. 5:06CR35-13-V
                                    )
v.                                  )
                                    )
PHOEBE DAVIS                        )
____________________________________)

                                             ORDER

       THIS MATTER IS BEFORE THE COURT upon the handwritten letter from the

Defendant, Phoebe Davis, to the undersigned, received January 4, 2007. In her letter to the

Court, Ms. Davis appears to request the Court’s assistance in getting into the McDowell County

Jail drug treatment program.

       It is the longstanding practice of this Court to deny pro se motions, no matter how

commendable, filed by defendants who are represented by counsel, without prejudice to their

ability to refile such motions after consulting with their lawyer. Ms. Davis is represented in this

matter by Aaron E. Michel, who was appointed by the Court on or about August 3, 2006.

       IT IS, THEREFORE, ORDERED that Ms. Davis’ request for drug treatment help is

DENIED without prejudice to her right to re-file the motion, if appropriate, through her attorney,

Mr. Michel.

       The Clerk of Court is directed to send a copy of the Letter to Mr. Michel along with his
                                               Signed: January 5, 2007
copy of this Order.




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